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                      IN THE STATE COURT OF DEKALB COUNTY
                                STATE OF GEORGIA

ROSALINDA HOSICENS

Plaintiff,                                            CIVIL ACTION
                                                                21A00064
V.                                                    FILE NO.:

WAL-MART STORES EAST,L.P.

Defendant.


                    COMPLAINT FOR NEGLIGENCE AND DAMAGE



        COMES NOW,Plaintiff, Rosalinda Hoskins by and through her counsel of record, The

Spencer Law Firm, LLC, and avers against Wal-Mart Stores East, L.P., defendant, as follows:

                               PARTIES AND JURISDICTION

                                                 1.

        Plaintiff is a resident of Georgia and resides in Gwinnett County, Georgia.

                                                 2.

        Defendant, Wal-Mart Stores East, L.P., has an office and transacts business at 1825

     Rockbridge Rd, Stone Mountain, Dekalb County, GA 30087.

                                                 3.

        Defendant, Wal-Mart Stores East, L.P., can be served with process through their

     registered agent, The Corporation Company(FL), 112 North Main Street, Cumming, GA

     30040.




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                                                                                                 STATE COURT OF
                                                                                              DEKALB COUNTY, GA.
                                                                                                  1/7/2021 12:00 PM
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                                                                                                    BY: Siana Smith
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                                                 4.

       Under 0.C.G.A. § 14-2-510, venue is appropriate in actions for damages because of torts,

wrong, or injury done, in the county where the cause of action originated, if the corporation has

an office and transacts business in that county, Wal-Mart Stores East, L.P. has an office and

transacts business in Dekalb County; thus,jurisdiction and venue are proper in this Court.


                                   STATEMENT OF FACTS

                                                 5.

       On September 5th, 2020, Rosalinda Hoskins was shopping in the produce department at

Wal-Mart Stores East, L.P., located at 1825 Rockbridge Rd, Stone Mountain, Dekalb County,

GA 30087.

                                                 6.

       As Rosalinda Hoskins was carefully and prudently walking down an aisle in Wal-Mart

when she slipped and fell on a slippery substance left on the floor.

                                                 7.

       At all relevant times, defendant was in control of the maintenance and care ofthe aisles

in Wal-Mart.

                                                 8.

       Defendant failed to maintain the safety of its aisles; defendant neglected to ensure that the
                                                              ,
floor was free and clear of any harmful and hazardous substances.




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                                                   9.

        Rosalinda Hoskins was not contributorily negligent while shopping at the subject Wal-

Mart.

                                                   10.

        If it were not for defendant's failure to remove the slippery substances from the floor

   Rosalinda Hoskins would not have been injured.

                                                   11.

        As a result ofthe fall, Rosalinda Hoskins suffered immediate pain in her knee, leg, and

back.

                                             COUNT I

                                          NEGLIGENCE

        Plaintiff realleges and incorporates by reference all those facts and allegations in

paragraphs 1 through 11 above, and Plaintiff further alleges:

                                                   12.

        This fall was caused by the recklessness, carelessness, and negligence of defendant. For

that among other acts and omissions, defendant Wal-Mart Stores East, L.P.:

            a. Failed to properly supervise the public area in question, so as to furnish to

               Rosalinda Hoskins a safe and level shopping area, free from hazards which were

               recognized or should have been recognized by defendant, as causing or likely to

               cause serious physical harm to Rosalinda Hoskins, and others;

            b. Failed to maintain the safe conditions of the public area in question, ensuring that

               Rosalinda Hoskins would not slip and fall due to any slippery substances which

               existed and which were known, and should have been known to defendant;
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           c. Failed to thoroughly inspect the public area wherein Rosalinda Hoskins fell as a

               result ofthe slippery substance;

           d. Failed to maintain the premises owned by defendant, ensuring safe conditions for

               Rosalinda Hoskins and others;

           e. Failed otherwise to comply with the applicable laws and regulation ofthe State of

               Georgia and the applicable Federal laws and regulations;

           f Otherwise failed to exercise the degree ofcare required under the circumstances;

               and

           g. In other respects, not now known to Rosalinda Hoskins by which may become

               known prior to or at the time of trial.

                                                  13.

       Defendant was negligent in maintaining the aisle which caused the injuries Rosalinda

Hoskins complains ofthroughout this Complaint.

                                                  14.
                                                                     7

       As the direct and proximate result of defendant's negligence, Rosalinda Hoskins suffered

serious physical injuries.

                                                  15.

       To the extent Rosalinda Hoskins suffered any aggravation of pre-existing conditions,

defendant directly and proximately caused any aggravations to such conditions as the result of its

negligence.




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                                           COUNT II

                                           DAMAGES

   Plaintiff realleges and incorporates by reference all those facts and allegations in paragraphs

1 through 15 above, and Plaintiff further alleges:

                                                  16.

   As a direct and proximate result of defendant's negligence, Rosalinda Hoskins' damages

consist of the following:

   a. Medical treatment,

   b. Future expenses for medical treatment,

   c. Conscious pain and suffering,

   d. Future conscious pain and suffering,

   e. Permanent injuries to the affected parts.

                                                  17.

   As the direct and proximate result of defendant's negligence, Rosalinda Hoskins demands

special damages in the amount of $49,319.36 for medical expenses already incurred.

                                                  18.

   All of the aforementioned damages were directly and proximately caused by the

aforementioned negligence of defendant and were incurred without contributory negligence or

assumption ofthe risk by Rosalinda Hoskins.




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   WHEREFORE,Rosalinda Hoskins prays that she has a trial on all issues and judgement

against defendant, as follows:

       a. That defendant be cited to appear and answer herein;

       b. That Plaintiff recover past and future medical expenses and past and future lost wages

           in an amount to be proven at trial;

       c. That Plaintiff recover for past and future physical and mental pain and suffering and

           emotional distress in an amount to be determined by the enlightened conscience of a

          jury;

       d. That Plaintiff have a trial by jury oftwelve.

       e. That Plaintiffrecover reasonable attorney's fees and costs oflitigation under 0.C.G.A.

           §13-6-11;

       f. Prejudgment and post-judgment interest at the maximum rate allowed by law; and

       g. Any other and further relief that the Court considers just and proper.


This 7th day of January,2021.



                                                           Respectfully Submitted,
                                                           The Spencer Law Firm,LLC

                                                           /s/Michael Peterson
                                                           Michael Peterson
                                                           State Bar No. 560364
                                                           Attorney for Plaintiff
                                                           mike(&,quintonspencer.com
                                                           Quinton V. Spencer
                                                           State Bar No. 871116
                                                           Attorney for Plaintiff
                                                           450 S. Peachtree Street, Suite A
                                                           Norcross, Georgia 30071
                                                           P:(404)670-9918
                                                           Fax:(678)550-9225
                                                                                        STATE COURT OF
                                                                                  DEKALB COUNTY, GA.
                                                 6                                         1/7/2021 12:00 PM
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                  IN THE STATE COURT OF DEKALB COUNTY
                            STATE OF GEORGIA

ROSALINDA HOSKINS,                                         Civil Action File No.
                                                           21A00064
             Plaintiff,
v.

WAL-MART STORES EAST, L.P.,

             Defendant.
                              /

                           ANSWER OF DEFENDANT

      COMES NOW, Defendant WAL-MART STORES EAST, L.P., and makes this

Answer to Plaintiff's Complaint as follows:

                                   FIRST DEFENSE

      Plaintiff's Complaint fails to state a claim against Defendant upon which relief

can be granted.

                                  SECOND DEFENSE

      Plaintiff's alleged damages, if any, were directly and proximately caused by

Plaintiff's own contributory negligence and failure to exercise ordinary care.

                                  THIRD DEFENSE

      Plaintiff was not in the exercise of ordinary care for her own safety in the

premises, and by the exercise of ordinary care could have avoided any injury to

herself; and on account thereof, Plaintiff is not entitled to recover from Defendant.


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                               FOURTH DEFENSE

      Defendant denies that it was negligent in any manner whatsoever or that any

negligent act or omission on its part caused or contributed to any injury or damage

alleged to have been sustained by Plaintiff.

                                 FIFTH DEFENSE

      Plaintiff assumed the risk of any hazard that was presented and is thereby

barred from recovering against Defendant.

                                SIXTH DEFENSE

      Plaintiff's claims for attorney’s fees should be dismissed as a matter of law.

                              SEVENTH DEFENSE

      Defendant responds to the enumerated paragraphs of Plaintiff's Complaint

as follows:

                                         1.

      Defendant lacks sufficient knowledge and information to either admit or deny

the allegations contained in paragraph 1 of Plaintiff's Complaint.

                                         2.

      Defendant admits the allegations contained in paragraph 2 of the Plaintiff's

Complaint.




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                                        3.

      Defendant admits the allegations contained in paragraph 3 of the Plaintiff's

Complaint.

                                        4.

      Defendant denies the allegations contained in paragraph 4 of the Plaintiff's

Complaint. Jurisdiction and Venue are proper in the United States District Court,

Northern District of Georgia, Atlanta Division.

                                        5.

      Defendant lacks sufficient information to either admit or deny the allegations

contained in paragraph 5 of the Plaintiff's Complaint.

                                        6.

      Defendant denies the allegations contained in paragraph 6 of the Plaintiff's

Complaint.

                                        7.

      Defendant admits only that it had some maintenance responsibilities.

Defendant denies the remaining allegations contained in paragraph 7 of the

Plaintiff's Complaint, as stated.

                                        8.

      Defendant denies the allegations contained in paragraph 8 of the Plaintiff's



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Complaint.

                                           9.

      Defendant denies the allegations contained in paragraph 9 of the Plaintiff's

Complaint.

                                          10.

      Defendant denies the allegations contained in paragraph 10 of the Plaintiff's

Complaint.

                                          11.

      Defendant denies the allegations contained in paragraph 11 of the Plaintiff's

Complaint.

                                       "Count I"

                                     "Negligence"

      Defendant realleges and incorporates by reference all those answers in

paragraphs 1 through 11 above.

                                          12.

      Defendant denies the allegations contained in paragraph 12 of the Plaintiff's

Complaint, including subparagraphs a., b., c., d., e., f., and g., thereof.

                                          13.

      Defendant denies the allegations contained in paragraph 13 of the Plaintiff's



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Complaint.

                                         14.

      Defendant denies the allegations contained in paragraph 14 of the Plaintiff's

Complaint.

                                         15.

      Defendant denies the allegations contained in paragraph 15 of the Plaintiff's

Complaint.

                                     "Count II"

                                    "Damages"

      Defendant realleges and incorporates by reference all those answers in

paragraphs 1 through 15 above.

                                         16.

      Defendant denies the allegations contained in paragraph 16 of the Plaintiff's

Complaint, including subpargraphs a., b., c., d., and e. thereof.

                                         17.

      Defendant denies the allegations contained in paragraph 17 of the Plaintiff's

Complaint.

                                         18.

      Defendant denies the allegations contained in paragraph 18 of the Plaintiff's



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Complaint.

                                         19.

       All other allegations contained in the Complaint which are not specifically

responded to herein, are, therefore, denied.

                                         20.

       Defendant denies Plaintiff's prayer for relief, including subparagraphs a., b.,

c., d., e., f., and g. thereof.

       WHEREFORE, Defendant prays that Plaintiff's Complaint be dismissed with

all costs cast upon the Plaintiff. DEFENDANT DEMANDS TRIAL BY A JURY OF

TWELVE (12) PERSONS AS TO ALL ISSUES SO TRIABLE.


                                       McLAIN & MERRITT, P.C.



                                       /s/ Howard M. Lessinger
                                       Howard M. Lessinger
                                       Georgia Bar No. 447088



                                        /s/ Jennie Rogers
                                       Jennie Rogers
                                       Georgia Bar No. 612725
                                       Attorneys for Defendant
                                       WAL-MART STORES EAST, L.P.




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3445 Peachtree Road, N.E.
Suite 500
Atlanta GA 30326
(404) 365-4514
(404) 364-3138 (fax)
hlessinger@mmatllaw.com




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                       CERTIFICATE OF SERVICE

     I hereby certify that a copy of the above and foregoing ANSWER OF

DEFENDANT WAL-MART STORES EAST, L.P. has this day been filed and served

upon opposing counsel via Odyssey eFileGA.

     This the 15th   day of January, 2021.

                                   McLAIN & MERRITT, P.C.



                                   /s/ Howard M. Lessinger
                                   Howard M. Lessinger
                                   Georgia Bar No. 447088
                                   Attorney for Defendant
                                   WAL-MART STORES EAST, L.P.

3445 Peachtree Road, N.E.
Suite 500
Atlanta GA 30326
(404) 365-4514
(404) 364-3138 (fax)
hlessinger@mmatllaw.com




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